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Charles W. Woodhead CLERK, US. DISTRICT COURT
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CENTRAL DISTHICT OF GALIFORNIA
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UNITED STATES DISTRICT COURT FOR THE
CENTRAL DISTRICT OF CALIFORNIA

(Western Division-Los Angeles)

CASE NO. CV 08-3336 DDP (AGRx)
OBJECTION TO PLAINTIFF'S
REQUEST FOR ENTRY OF DEFAULT
AGAINST CHARLES W. WOODHEAD

Honorable Dean D. Pregerson,

I received yesterday a copy of Mr. Kalbian’s request for entry of Default Judgement
against me. I don’t understand ...for what? At the Courts direction I do not file any

papers in my defense... am following your instructions.

I continue to deny anything and everything Mr. Kalbian claims with his numerous
frauduient filings. I object to anything and everything he and his Law Firm fiies
including this current request for entry of Default Judgement. The allegations
they make are simply not remotely true and I am sure a good income is being made

via time-billing in their case.

lam simply requesting and awaiting a trial by jury along with the rest of the
defendants. I am a former Naval Flight Officer who served in Vietnam with honor.

What has happened in our country that allows attorneys to brutalize innocent
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people using the authority and support of the Federal Courts? The co-defendants
are aij fine peopie i am proud to know. The charges by the Piaintiff's attorneys were
and still are simply not true and a complete fabrication. They have twisted our

words and manufactured a scenario that is coiorfui but stiii a lie.

I am on fixed Social Security income now and can not hire an attorney. I suppose in
the legal system that is like shooting fish in a barrel but this fish is tired of being a

target.

With all due respect I request the court to put a stop to this stupidity and dismiss

this fraudulent case.

If anything I have written here sounds offensive to the court I assure you that is not

my intention and I apologize.

Respectfully,

bl Muh

Charles W. Woodhead August 30, 2009

Defendant
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CERTIFICATE OF SERVICE
I certify that I have mailed the document by U.S. mail to the following :

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Dated August 30, 2009

Charles W. Woodhead
Defendant Pro-Se
